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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 RED LAKE BAND OF CHIPPEWA
 INDIANS, et al.,
            Plaintiffs,
 v.
 UNITED STATES ARMY CORPS OF
 ENGINEERS,                                              Civil Action No. 20-3817 (CKK)

            Defendant,

 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP,

                Defendant-Intervenor.

 FRIENDS OF THE HEADWATERS,
            Plaintiff,
 v.
 UNITED STATES ARMY CORPS OF
 ENGINEERS, et al.,                                      Civil Action No. 21-0189 (CKK)
            Defendants,

 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP,

            Defendant-Intervenor.


                                 MEMORANDUM OPINION
                                    (October 7, 2022)

       This consolidated action arises from the United Army Corps of Engineers’ (the “Corps”)

issuance of a permit to Intervenor-Defendant Enbridge Energy, Limited Partnership (“Enbridge”),

authorizing Enbridge to discharge dredged and fill material into waters of the United States under

Section 404 of the Clean Water Act and to cross waters protected by the Rivers and Harbors Act

in its replacement of sections of the Line 3 oil pipeline in Minnesota. Plaintiffs Red Lake Band of
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Chippewa Indians, White Earth Band of Ojibwe, Honor the Earth, Sierra Club, and Friends of the

Headwaters (collectively, “Plaintiffs”) allege that the Corps’ decision to issue these permits

violated the National Environmental Policy Act, the Clean Water Act, the Rivers and Harbors Act,

and the Corps’ permitting regulations.

          Presently before the Court are the parties’ cross-motions for summary judgment. Upon

consideration of the pleadings, 1 the relevant legal authorities, and the administrative record, 2 the


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    The Court’s consideration has focused on the following:
      x Memorandum of Points and Authorities in Support of Plaintiff Friends of the Headwaters’
        Motion for Summary Judgment (“FOH’s Mot.”), ECF No. 52;
    x Memorandum in Support of Plaintiffs Red Lake Band of Chippewa Indians, White Earth
        Band of Ojibwe, Honor the Earth and Sierra Club’s Motion for Summary Judgment (“RLB
        Pls.’ Mot.”), ECF No. 53-1;
    x Memorandum in Support of Federal Defendants’ Cross-Motion for Summary Judgment
        and Response in Opposition to Plaintiffs’ Motions for Summary Judgment (“Fed. Defs.’
        Opp’n & Cross-Mot.”), ECF No. 61-1;
    x Intervenor Defendant Enbridge Energy, LP’s Memorandum in Support of Cross-Motion
        for Summary Judgment and in Opposition to Plaintiffs’ Motions for Summary Judgment
        (“Enbridge’s Opp’n & Cross-Mot.”), ECF No. 63-1;
    x Plaintiffs’ Opposition to Defendant’s and Defendant-Intervenor’s Cross-Motions for
        Summary Judgment and Reply in Support of Plaintiffs’ Motion for Summary Judgment
        (“RLB Pls.’ Reply & Opp’n”), ECF No. 65;
    x Reply Brief of Plaintiff Friends of Headwaters in Support of its Motion for Summary
        Judgment and in Opposition to Defendants’ Motions for Summary Judgment (“FOH’s
        Reply & Opp’n”), ECF No. 67;
    x Federal Defendants’ Reply in Support of their Cross-Motion for Summary Judgment (“Fed.
        Defs.’ Reply”), ECF No. 69;
    x Intervenor Defendant Enbridge Energy, Limited Partnership’s Reply Memorandum in
        Support of Cross-Motion for Summary Judgment (“Enbridge’s Reply”), ECF No. 70; and
    x Brief of Amicus Curiae Congregations Caring for Creation d/b/a Minnesota Interfaith
        Power & Light and Youth N’ Power in Support of Plaintiffs (“Amicus Br.”), ECF No. 72.
In an exercise of its discretion, the Court finds that holding oral argument in this action would not
be of assistance in rendering a decision. See LCvR 7(f).
2
  In accordance with Local Civil Rule 7(n), the parties have filed a Joint Appendix containing
“copies of those portions of the administrative record that are cited or otherwise relied upon” in
their pleadings. LCvR(n); see ECF Nos. 73, 74, 77. Citations to the administrative record shall



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Court concludes that the Corps complied with its obligations to assess the environmental

consequences associated with its permits to Enbridge. Accordingly, the Court DENIES Plaintiffs’

Motions for Summary Judgment (ECF Nos. 52, 53) and GRANTS Federal Defendants’ and

Intervenor Defendant Enbridge’s Cross Motions for Summary Judgment (ECF Nos. 61, 63)

                                    I.    BACKGROUND

A. Statutory and Regulatory Background

       1. National Environmental Policy Act

       The National Environmental Policy Act (“NEPA”) requires the federal government to

“identify and assess in advance the likely environmental impact of its proposed actions, including

its authorization or permitting of private actions.” Sierra Club v. U.S. Army Corps of Eng’rs, 803

F.3d 31, 36 (D.C. Cir. 2015) (“Flanagan South Pipeline”) (citing Dep’t of Transp. v. Pub. Citizen,

541 U.S. 752, 756–57 (2004)). “NEPA’s mandate, which incorporates notice and comment

procedures serves the twin purposes of ensuring that (1) agency decisions include informed and

careful consideration of environmental impact, and (2) agencies inform the public of that impact

and enable interested persons to participate in deciding what projects agencies should approve and

under what terms.” Id. at 36–37 (citing Pub. Citizen, 541 U.S. at 768). NEPA accomplishes these

purposes by requiring agencies to take a “‘hard look’ at their proposed actions’ environmental

consequences in advance of deciding whether and how to proceed.” Id. at 37 (citing Robertson v.

Methow Valley Citizens Council, 490 U.S. 332, 350–51 (1989)).

       NEPA is a “purely procedural statute.” Oglala Sioux Tribe v. U.S. Nuclear Regulatory

Comm’n, 45 F.4th 291, 299 (D.C. Cir. 2022). It “does not mandate particular results,” but prohibits




include the pages numbers corresponding to the Joint Appendix (“JA”) and Administrative Record
(“AR”).


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“uninformed—rather than unwise—agency action.” Robertson, 490 U.S. at 350–51. “Agency

actions with adverse environmental effects can thus be NEPA compliant where ‘the agency has

considered those effects and determined that competing policy values outweigh those costs.’”

Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 255 F. Supp. 3d 101, 113 (D.D.C. 2017)

(“Standing Rock 2017”) (quoting Ohio Valley Envtl. Coal. v. Aracoma Coal Co., 556 F.3d 177,

191 (4th Cir. 2009)).

       NEPA’s “major action-forcing provision . . . is the requirement that all agencies of the

Federal government prepare a detailed environmental analysis”—an Environmental Impact

Statement (“EIS”)—for “major Federal actions significantly affecting the quality of the human

environment.” Found. on Econ. Trends v. Heckler, 756 F.2d 143, 146 (D.C. Cir. 1985) (emphasis

added) (internal quotation marks omitted) (quoting 42 U.S.C. § 4332(C)). An EIS must assess the

action’s anticipated “direct and indirect environmental effects,” and consider “alternatives that

might lessen any adverse environmental impact.” Flanagan South Pipeline, 803 F.3d at 37 (citing

42 U.S.C. § 4332(C); 40 C.F.R. § 1508.11 3). “If any significant environmental impacts might

result from the proposed agency action, then an EIS must be prepared before the agency action is

taken.” Grand Canyon Trust v. FAA, 290 F. 3d 339, 340 (D.C. Cir. 2002) (quoting Sierra Club v.

Peterson, 717 F.2d 1409, 1415 (D.C. Cir. 1983)).

       If it is unclear whether an action will “significantly affect[ ] the quality of the human

environment,” the federal agency may prepare an Environmental Assessment (“EA”). Theodore



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  The Council on Environmental Quality (“CEQ’) promulgated regulations implementing NEPA
in 1978, see 43 Fed. Reg. 55,978 (Nov. 29, 1978), and amended those regulations in 1986, see 51
Fed. Reg. 15618 (Apr. 25, 1986). CEQ published a new rule, effective September 14, 2020, further
revising these regulations. Because the claims at issue in this case arise under the 1978 regulations,
as amended in 1986, all citations to the CEQ regulations in this Memorandum Opinion refer to
those regulations as codified at 40 C.F.R. Part 1500 (2018), available at https://
www.govinfo.gov/content/pkg/CFR-2018-title40-vol37/pdf/CFR-2018-title40-vol37-chapV.pdf.


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Roosevelt Conservation P’ship v. Salazar, 616 F.3d 497, 503 (D.C. Cir. 2010) (internal citations

and quotation marks omitted). An EA is “essentially, a preliminary consideration of potential

environmental effects in a concise public document, designed to provide sufficient evidence and

analysis for determining whether an EIS is needed.” Flanagan South Pipeline, 803 F.3d at 37

(internal citations and quotation marks omitted); 40 C.F.R. §§ 1501.4(c), 1508.9(a). An EA must

include “brief discussions of the need for the proposal, of alternatives[,]” and “of the environmental

impacts of the proposed action and alternatives[.]” 40 C.F.R. § 1508.9(b).

          To determine whether a federal action will “significantly” affect the quality of the

environment, the agency must consider the “context and intensity” of the proposed action and must

address both “direct” and “indirect” caused by the proposed action. 40 C.F.R. §§ 1508.8, 1508.27.

Indirect effects include those “caused by the actions and are later in time or farther removed in

distance, but are still reasonably foreseeable.”       Id. § 1508.8(b).   An effect is “reasonably

foreseeable” if a “person of ordinary prudence would take it into account in reaching a decision.”

Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032, 1050 (D.C. Cir. 2021)

(“Standing Rock 2021”) (quoting City of Shoreacres v. Waterworth, 420 F.3d 440, 453 (5th Cir.

2005)).

          If the agency determines based on its EA that an EIS is not required, the agency must issue

a “finding of no significant impact (“FONSI”), which “briefly presents the reasons why the

proposed agency action will not have a significant impact on the human environment.” Pub.

Citizen, 541 U.S. at 757–58 (internal citations omitted). “Each form of NEPA analysis—

EA/FONSI or EIS—requires public notice and comment, . . . and each is subject to judicial

review.” Flanagan South Pipeline, 803 F.3d at 37–38 (citing Pub. Citizen, 541 U.S. at 763–64;

Grand Canyon Trust, 290 F.3d at 340–42).




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       2. Clean Water Act

       The Clean Water Act (“CWA”) seeks to “restore and maintain the chemical, physical, and

biological integrity of the Nation’s waters” and to “increase the quality and quantity of the Nation’s

wetlands.” 33 U.S.C. §§ 1251(a), 2317(a). The CWA, therefore, prohibits the discharge of

dredged or fill materials into navigable waters of the United States absent authorization by the

Corps pursuant to Section 404, 33 U.S.C. § 1344. Section 404 of the CWA assigns the Corps

jurisdiction to issue permits authorizing the discharge of fill material into “navigable waters.” 33

U.S.C. §§ 1342(a)(1), (4), 1344(a); see Flanagan South Pipeline, 803 F.3d at 38. The Corps’

permitting authority also extends to “wetlands adjacent to navigable waters.” Nat’l Ass’n of Mfrs.

v. Dep’t of Defense, 138 S. Ct. 617, 625 (2018) (citing United States v. Riverside Bayview Homes,

Inc., 474 U.S. 121, 132 (1985)); see also 33 C.F.R. § 328.3(a)(4) (“For the purposes of the Clean

Water Act . . . the term ‘waters of the United States’ means . . . adjacent wetlands.”).

       Before the Corps issues a Section 404 permit, it must determine that there is “no practicable

alternative” to the proposed activity “which would have less adverse impact on the aquatic

ecosystem.” 40 C.F.R. § 230.10(a). A practicable alternative is one which is “available and

capable of being done after taking into consideration cost, existing technology, and logistics in

light of overall project purposes.” Id. § 230.10(a)(2). If there is any practicable alternative that

would have a lesser impact on the aquatic ecosystem, the Corps must deny the application permit.

Id. § 230.10(a). The Corps must also evaluate the “probable impacts” of the proposed activity and

will grant the permit “unless the district engineer determines that [the activity] would be contrary

to the public interest.” 33 C.F.R. § 320.4(a)(1).




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       3. Rivers and Harbors Act

       Section 10 of the Rivers and Harbors Act prohibits structures and activities that would

obstruct navigable waters unless “the work has been recommended by the Chief of Engineers and

authorized by the Secretary of the Army[.]” 33 U.S.C. § 403. Section 14 of the RHA— commonly

referred to as “Section 408”—provides that actions impairing “work[s] built by the United States”

require authorization by the Corps. 33 U.S.C. § 408; 33 C.F.R. § 320.2(e).

B. Factual Background

       Intervenor-Defendant Enbridge sought the permits challenged by Plaintiffs in this action

to replace portions of its “Line 3” oil pipeline, which transports crude oil from Edmonton, Alberta

to Superior, Wisconsin, traversing portions of North Dakota and Minnesota. See JA 29/AR 351.

Originally constructed in the 1960s, “Existing Line 3” suffers from corrosion and integrity issues,

including a “large number of identified pipe defects and anomalies.” JA 41/AR 363. Due to safety

and integrity concerns, such as “stress corrosion cracking and long-seam cracking,” Enbridge

reduced the capacity of Existing Line 3 from its historical average of 760,000 barrels/day to

390,000 barrels/day. See JA 41, 46/AR 363, 368. According to Enbridge, maintaining Existing

Line 3 in that condition would require approximately 6,250 “integrity digs” over the next 15 years

which would be “nearly equal” to the cost of replacing the pipeline, and would result in “year-

over-year impacts” to landowners and the environment. JA 41/AR 363.

       In 2017, Enbridge entered a Consent Decree with the federal government, obligating

Enbridge to “seek all approvals necessary for the replacement of [Existing] Line 3” and upon

receipt of those approvals, to “complete the replacement of [Existing Line 3] and take [Existing]

Line 3 out of service . . . as expeditiously as practicable.” See Consent Decree, ECF No. 14, United




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States v. Enbridge Energy Ltd. P’ship, No. 16-cv-914 (W.D. Mich. May 23, 2017). 4 To comply

with its obligation to decommission Existing Line 3, Enbridge developed plans to construct a new

pipeline—“Replacement Line 3.” See JA 30/AR 352.

       Enbridge’s Replacement Line 3 will replace the existing 34-inch-diameter pipeline with a

36-inch-diameter pipeline. JA 46/AR 368. Whereas Existing Line 3 was transporting

“predominantly light crude” oil, Replacement Line 3 can carry “heavy, light, and mixed service.”

Id. Replacement Line 3 would also enable Enbridge to transport a higher capacity of crude oil

than Existing Line 3 was transporting once Enbridge reduced its capacity. JA 41–42, 46/

AR 363–64, 368 (indicating that Replacement Line 3 would “restor[e] the capacity of the pipeline

to its historic operating capacity of 760,000 bpd”).

       At issue here is the replacement of approximately 282 miles of existing pipeline in

Minnesota with 330 miles of new pipeline and associated facilities (the “Project”). JA 253/AR

2812. Approximately 90% of the Project is “co-located with other Enbridge pipelines, third-party

pipelines, roads, railroads, or highways.” JA 33/AR 355. But the remainder of the route crosses

a new corridor. JA 33/AR 355. Unlike the existing route, the new corridor avoids the Chippewa

National Forest and the Leech Lake and Fond du Lac Bands of Chippewa Indians’ Reservations.

JA 47, 49/AR 369, 371.

       1. State Administrative Proceedings

       The Project has undergone extensive state administrative proceedings. See, e.g.,

JA 34–37/AR 356–59 (providing timeline of “Project History); JA 938–41/AR 12098–101

(summarizing procedural posture of state proceedings).        The Minnesota Public Utilities




4
 The Consent Decree arises from a Complaint against Enbridge in 2010 “as the result of unlawful
discharges of oil from two Lakehead System pipelines.” See Consent Decree at 1.


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Commission (“MPUC”) is responsible under state law for certifying the need for oil pipelines and

approving the route. See Minn. Stat. §§ 216B.243, 216G.02. Enbridge submitted applications for

a Certificate of Need and Route Permit on April 24, 2015. See JA 1698/AR 144837; JA 1801/AR

146430. The MPUC and the Minnesota Department of Commerce, Energy Environmental Review

and Analysis (“DOC-EERA”) conducted public information meetings along Enbridge’s proposed

routes and solicited public comments. JA 1700/AR 144839; JA 1802/AR 146431. In February

2016, the MPUC granted contested case proceedings, which were held in the fall of 2017 and

included sixteen public hearings in eight cities and two weeks of evidentiary hearings.

JA 1802–03/AR 146431–32.          Plaintiffs in this action participated in the contested case

proceedings. JA 1803/AR 146433. In April 2018, the state ALJ issued a report recommending a

route and associated proposed conditions. JA 1804/AR 146433.

       While the MPUC oversaw route proposals, DOC-EERA developed an Environmental

Impact Statement (“State EIS”) pursuant to Minnesota’s Environmental Policy Act, Minn. Stat

§ 116D.01-.11, which mandates preparation of an EIS for Certificate of Need and Route Permit

proceedings, see In re Enbridge Energy, Ltd. P’ship, 930 N.W.2d 12, 20 (Minn. Ct. App. 2019).

DOC-EERA issued its first draft of the State EIS on May 15, 2017 for public comment. JA 34/AR

356. The agency held 22 public information meetings and “considered thirty possible route

combinations.” See Declaration of Barry Simonson (“Simonson Decl.”) ¶ 25, ECF No. 28-1; see

also JA 1708–16/AR 144847–55 (examining route alternatives). The State EIS includes sections

examining alternatives to the proposed project, see JA 6445–6488 (State EIS Chapter 4,

“Alternatives to the Proposed Project”), 5 and analyzing issues related to the accidental release of



5
 The State EIS was included via hyperlink as part of the Administrative Record, JA 1061/AR
56840, but were “not produced with original or revised administrative record in this proceeding,
and therefore lack administrative record pagination.” See ECF No. 73, at (vi).


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crude oil, see JA 3451–3621/AR149745–915 (State EIS Chapter 10, “Accidental Crude Oil

Releases”).

       DOC-EERA finalized its EIS on February 12, 2018—which was “found adequate” by the

MPUC on May 1, 2018. See JA 939/AR 12099. MPUC held oral argument regarding the Project

Route, and then issued its approved route in October 2018. See JA 1698–1745/AR 144837–84.

According to Enbridge, the route approved by the MPUC “captured numerous modifications to

Enbridge’s originally proposed route to minimize potential effects of the project on cultural and

environmental resources.” Simonson Decl. ¶ 26.

       Plaintiffs challenged the State EIS and route determination in the Minnesota Court of

Appeals, contesting the adequacy of the State EIS under state law. See In re Enbridge Energy,

Ltd. P’ship, 930 N.W.2d 12 (Minn. Ct. App. 2019). The court concluded that the MPUC correctly

found that the State EIS was adequate—except that the oil spill model upon which the State EIS

relied failed to address the impact of an oil spill on the Lake Superior watershed. Id. at 28, 36.

The court, therefore, remanded to MPUC for further proceedings. Id. at 36. DOC-EERA prepared

a revised State EIS in accordance with the court’s order and issued its revised analysis for public

notice and comment. See JA 940–41/AR 12100–01. MPUC issued an Order on May 1, 2020

finding the revised State EIS adequate, and approving the Certificate of Need and Route Permit

for the Project. See JA 941–43/AR 12101–03.

       Plaintiffs again challenged the MPUC’s Order and filed for a stay on November 25, 2020.

The MPUC denied the motion in December 2020. See Order Denying Motion for Stay Pending

Appeal, In the Matter of the Applications of Enbridge Energy, LP, Docket Nos. PL-9/CN-14-916,

PL-9/PPL-15-137, PL-9/C-20-801 (MPUC Dec. 9, 2020) (ECF No. 28-2). Plaintiffs then sought

a stay pending appeal from the Minnesota Court of Appeals, which the court denied on February




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2, 2021. See Order, In the Matter of the Application of Enbridge Energy, LP, A20-1071, 1072,

1074, 1075, 1077 (Minn. Ct. App. Feb. 2, 2021). In a decision dated June 14, 2021, the Minnesota

Court of Appeals upheld the revised State EIS. In the Matter of Enbridge Energy, Limited

Partnership, 964 N.W.2d 173 (Minn. Ct. App. 2021).

       2. The Corps’ Environmental Assessment and Permits

       Because the path of the Project involves crossing 227 waterways, Enbridge was also

required to obtain a permit from the Corps to authorize the discharge of dredged or fill materials

into “waters of the United States” under Section 404 of the Clean Water Act. The Project also

crosses the Corps’ Lost River Flood Control Project, which required Enbridge to obtain an

authorization from the Corps under Section 408 of the Rivers and Harbors Act.

       Enbridge first applied for an individual CWA permit in 2015 and submitted a revised

application on September 21, 2018. JA 34–35, 42/AR 357–58, 364. On December 20, 2018, the

Corps issued a Public Notice for the Section 404 permit and Section 408 authorization, which was

followed by a 60-day period for comments. JA 42–43/AR 364–65. After this first public notice

and comment period, the Corps requested additional information from Enbridge in October 2019

regarding concerns about wetland impact, construction methods, impact minimization, post-

construction monitoring, and compensatory mitigation.        JA 36–37/AR 358–59. Following

Enbridge’s submission of additional information in December 2019, the Corps issued another

public notice seeking comment on these revisions on February 4, 2020. JA 37, 43/AR 359, 365.

       The Corps prepared an Environmental Assessment and Statement of Findings. JA 24–

153/AR 347–475.      Therein, the Corps indicates that Enbridge was seeking a permit for

“construction-related activities in waters of the U.S. associated with the proposed Project.” JA

29/AR 351. The Corps summarized the “purpose” of the Project as replacing an “existing crude




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oil pipeline to increase safety of transporting crude oil and to ensure continued reliable crude oil

transportation[.]” JA 42/AR 364. “A total of 227 waterbodies would [be] crossed by the Project,”

95 of which are “[d]itches” (many of which are “roadside ditches”) and 132 of which are

“streams.” JA 30/AR 352. Noting that it “does not regulate the siting of pipelines, nor any

substance being transported within a pipeline,” the Corps framed the scope of its environmental

assessment as relating to “the specific activity requiring a Department of the Army permit.” Id.

According to the Corps, such “construction activities would involve “temporary discharges of fill

material into 1,049.58 acres of wetlands, 1.13 acres of streambed, and permanent discharges of fill

material into 9.97 acres of wetlands.” JA 29/AR 351. As a result, “[a]pproximately 130.21 acres

of the total acres temporarily impacted would be permanently converted from a forested or scrub-

shrub vegetation community to an herbaceous vegetation community.” JA 29/AR 351.

       Based on its EA, the Corps concluded that issuing the Section 404 permit would not “have

significant impacts on the quality of the human environment.” Id. at 128. The Corps, therefore,

did not produce an EIS for the Project. Appended to the Corps’ Section 404 EA is an additional

EA pursuant Section 408 of the RHA (“Section 408 EA”)—regarding the authorization for the

Project to cross the Lost River Flood Control Project. See JA 232–52/AR 2536–56.

       On November 23, 2020, the Corps granted Enbridge a CWA Section 404 permit, which

provides:

               [Enbridge is] authorized to temporarily discharge dredged and fill
               material into 1,050.71 acres of waters of the U.S., including
               wetlands and waterbodies, and permanently discharge fill material
               into 9.97 acres of waters of the U.S for construction activities, as
               described in the November 2020 Environmental Protection Plan
               incorporated into this authorization, associated with the Line 3
               Replacement Project.




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JA 0017–24/AR 339–46; see also JA 0010/AR 332. The Corps also authorized Enbridge under

Section 408 of the RHA to “alter the Lost River, Minnesota Flood Control Project” through

“installation of a 36-inch diameter pipeline[.]” JA 0012–16/AR 334–38. The Corps’ authorization

was “contingent on the permittee’s compliance with all conditions stated in the permit and its

attachments.” Id.

       Construction on the Project began around December 1, 2020. See Simonson Decl.

¶¶ 56–57. As of October 4, 2021, Enbridge had completed the discharge activities authorized by

the Corps. See Enbridge’s Notice of Suppl. Auth. at 2, ECF No. 84. 6

C. Procedural Background

       1. Red Lake Band of Chippewa Indians et al. v. U.S. Army Corps of Engineers, Case
          No. 20-cv-3817-CKK

       Plaintiffs Red Lake Band of Chippewa Indians, White Earth Band of Ojibwe, Honor the

Earth, and Sierra Club (together, “Red Lake Band Plaintiffs”) filed their [1] Complaint against

Defendant United States Army Corps of Engineers on December 24, 2020. Red Lake Band

Plaintiffs’ four-count Complaint alleges that the Corps: (1) failed to adequately consider the direct,

indirect, and cumulative impacts of its permit under NEPA, Red Lake Band Pls.’ Compl. ¶¶ 183–

95; (2) violated NEPA by failing to prepare an EIS, id. ¶¶ 196–203; (3) violated the CWA by

failing to “evaluate all relevant factors” and by failing to choose the “least damaging practicable

alternative,” id. ¶¶ 204–10; and (4) conducted an inadequate public interest review, in violation of

the CWA, the RHA, and the Corps’ own regulations, id. ¶¶ 211–17.


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  Completion of these activities does not render this case moot because if the Court were “to hold
that [the Corps’] NEPA analysis was inadequate or their decisions otherwise arbitrary and
capricious, [it] ‘would have to correct the decision-making process.’” Flanagan South Pipeline,
803 F.3d at 43 (quoting Columbia Basin Land Protection Ass’n v. Schlesinger, 643 F.2d 585, 591
n.1 (9th Cir. 1981)). “If the NEPA analysis were legally inadequate, we could order that the
[pipeline] be closed or impose restrictions on its use[.]” Id. (internal citations and quotation marks
omitted).


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       On the same day they filed their Complaint, Red Lake Band Plaintiffs filed a [2] Motion

for Preliminary Injunction, in which they sought to “enjoin [the Corps] to withdraw the permit

issued on November 23, 2020 authorizing Enbridge Energy to discharge dredged and fill material

into 1050.71 acres of waters of the United States for construction activities associated with the

Line 3 project.” Red Lake Band Pls.’ PI Mot. at 1. Red Lake Band Plaintiffs argued that

preliminary injunctive relief was appropriate based on claims that the Corps had failed to

adequately address the effects of potential oil spills, alternative construction routes, and alternative

construction methods in granting Enbridge necessary permits to proceed with the construction of

Replacement Line 3. Concluding that Red Lake Band Plaintiffs failed to carry their burden of

demonstrating a likelihood of success on the merits and irreparable harm, the Court denied their

Motion for Preliminary Injunction on February 7, 2021. See Red Lake Band of Chippewa Indians

v. U.S. Army Corps of Eng’rs, Civil Action No. 20-3817 (CKK), 2021 WL 430054 (D.D.C. Feb.

7, 2021).

       Without opposition from Red Lake Band Plaintiffs or the Corps, Enbridge moved to

intervene as a defendant on January 5, 2021. See Enbridge’s Mot. to Intervene, ECF No. 19;

Corps’ Resp., ECF No. 20; Pls.’ Resp., ECF No. 22. The Court granted Enbridge’s motion to

intervene as of right under Federal Rule of Civil Procedure 24(a). See Red Lake Band of Chippewa

Indians v. U.S. Army Corps of Eng’rs, 338 F.R.D. 1 (D.D.C. 2021).

       2. Friends of the Headwaters v. U.S. Army Corps of Engineers et al., Case No. 21-cv-
          189-CKK

       Separately, on January 21, 2021, Plaintiff Friends of the Headwaters (“FOH”) filed its own

[1] Complaint against Defendants United States Army Corps of Engineers and Col. Karl Jansen,

District Engineer of the St. Paul, Minnesota District, alleging various violations of NEPA and the

Clean Water Act. FOH subsequently filed a [13] First Amended Complaint on February 16, 2021.



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       FOH claims that the Corps violated NEPA by failing to consider various direct, indirect,

and cumulative effects of the construction of Line 3 (including the risks and effects of an oil spill

and climate change, among others), failing to consider reasonable alternatives, improperly relying

on the conclusions of state agencies in its environmental impact analysis, and by concluding that

an EIS was not warranted. See FOH 1st Am. Compl. ¶¶ 121–57. FOH also alleges violations of

the CWA, including that the Corps failed to consider reasonable alternatives, improperly relied on

state regulatory decisions, failed to consider greenhouse gas emissions and climate change

implications of Replacement Line 3, and conducted an inadequate public interest review.

Id. ¶¶ 174–85.

       Enbridge also moved to intervene as a defendant in this case—again without opposition

from FOH or the Corps. See Enbridge’s Mot. to Intervene, ECF No. 6. The Court granted

Enbridge’s motion to intervene as of right under Federal Rule of Civil Procedure 24(a). See

Friends of the Headwaters v. U.S. Army Corps of Eng’rs, Civil Action No. 21-189 (CKK), 2021

WL 1061162 (D.D.C. Mar. 20, 2021).

       3. Consolidation and Summary Judgment

       On March 4, 2021, the Corps moved to consolidate both cases. See Corps’ Mot. to

Consolidate, ECF No. 41. Enbridge consented to the proposed consolidation. All Plaintiffs

consented to consolidation, but objected to the Corps’ proposal that they be required to file joint

briefs. See Order at 2, ECF No. 47. The Court granted the Corps’ request for consolidation of the

two cases on March 22, 2021, and directed the parties to make filings only in Case No. 20-cv-

3817. Id. The Court further directed that Plaintiffs would not be required to file joint briefs, but

must “coordinate to minimize duplication of arguments,” and share a specified allotment of pages.

Id. at 3, 4. In the same order, the Court set a briefing schedule for the parties’ proposed summary




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judgment motions. On May 26, 2021, Plaintiffs filed their motions for summary judgment. See

FOH’s Mot.; RLB Pls.’ Mot. The Corps and Enbridge filed their oppositions and cross-motions

to Plaintiffs’ motions on June 23, 2021. Fed. Defs.’ Cross-Mot. & Opp’n; Enbridge’s Cross-Mot.

& Opp’n. All four motions are ripe for the Court’s consideration.

                                 II.   LEGAL STANDARD

       The Administrative Procedure Act (“APA”) governs the Court’s review of Plaintiffs’

NEPA, CWA, and RHA claims. See Indian River Cty. v. U.S. Dep’t of Transp., 945 F.3d 515, 527

(D.C. Cir. 2019) (judicial review of NEPA claim governed by APA); Sierra Club v. Fed. Energy

Regulatory Comm’n, 867 F.3d 1357, 1367 (D.C. Cir. 2017) (“Southeast Market Pipelines”)

(“[B]ecause NEPA does not create a private right of action, we can entertain NEPA-based

challenges only under the [APA] and its deferential standard of review.”); Nat’l Ass’n of Home

Builders v. U.S. Army Corps of Eng’rs, 417 F.3d 1272, 1278 (D.C. Cir. 2005) (challenge to CWA

permit analyzed under APA).

       “[W]hen a party seeks review of agency action under the APA [before a district court], the

district judge sits as an appellate tribunal. The ‘entire case’ on review is a question of law.” Am.

Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir. 2001). Accordingly, “the standard

set forth in [Federal Rule of Civil Procedure] 56[ ] does not apply because of the limited role of a

court in reviewing the administrative record.” Friends of Animals v. Pendley, 523 F. Supp. 3d 39,

52 (D.D.C. 2021) (internal citation omitted). “Summary judgment is [ ] the mechanism for

deciding whether as a matter of law the agency action is supported by the administrative record

and is otherwise consistent with the APA standard of review.” Id. (internal citation omitted).

       The APA “sets forth the full extent of judicial authority to review executive agency action

for procedural correctness.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 513 (2009). A




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court must “hold unlawful and set aside agency action, findings, and conclusions” that are

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A). Agency action is arbitrary and capricious if, for example, the agency “entirely failed

to consider an important aspect of the problem, offered an explanation for its decision that runs

counter to the evidence before the agency, or is so implausible that it could not be ascribed to a

difference in view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.

State Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983).

       This a “narrow” standard of review, under which “a court is not to substitute its judgment

for that of the agency.” Standing Rock 2017, 255 F. Supp. 3d at 121. However, an agency is still

required to “examine the relevant data and articulate a satisfactory explanation for its action

including a rational connection between the facts found and the choice made.” State Farm, 463

U.S. at 43 (internal quotation marks omitted). “Moreover, an agency cannot ‘fail[ ] to consider an

important aspect of the problem’ or ‘offer[ ] an explanation for its decision that runs counter to the

evidence’ before it.” Dist. Hosp. Partners, L.P. v. Burwell, 786 F.3d 46, 57 (D.C. Cir. 2015)

(quoting State Farm, 463 U.S. at 43).

                                     III.   DISCUSSION

A. NEPA Claims

       Plaintiffs first argue that the Corps’ environmental assessment fell short of its obligation

under NEPA to take a “hard look” at the Project’s consequences and that the Corps’ decision not

to prepare an EIS was arbitrary and capricious. RLB Pls.’ Mot. at 8–23. Many of the NEPA

deficiencies identified by Plaintiffs hinge on two overarching arguments: first, that the Corps

improperly limited the scope of its NEPA review to effects connected to the construction-related

activities authorized by its permits (as opposed to effects connected with the construction and




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operation of the entire pipeline); and second, that the Corps improperly relied on the State EIS.

The Corps and Enbridge counter that the Corps’ environmental analysis was appropriately tailored

to the scope of the activities authorized by the Corps; they argue that the Corps’ EA sufficiently

reviewed the effects associated with those activities and its decision not to prepare an EIS based

on its reasonable conclusion that there were no “significant” environmental effects associated with

the permitted activities.

       Because disputes about the scope of the Corps’ NEPA analysis and its use of the State EIS

permeate Plaintiffs’ arguments about the sufficiency of the Court’s analysis, the Court addresses

both disputes before turning to Plaintiffs’ specific challenges. Before doing so, however, the Court

emphasizes that its role in “reviewing agency compliance with NEPA is . . . limited.” Southeast

Market Pipelines, 867 F.3d at 1367 (emphasis added). The Court must “simply ensure that the

agency has adequately considered and disclosed the environmental impact of its actions and that

its decision is not arbitrary and capricious.” Id. (quoting Wildearth Guardians v. Jewell, 738 F.3d

298, 308 (D.C. Cir. 2013)) (additional citation omitted).

       1. Scope of the Corps’ NEPA Analysis

       The parties dispute the extent to which the Corps was required to consider effects of

Replacement Line 3’s operation as opposed to its construction. The EA’s NEPA analysis is

limited to environmental effects associated with the “specific activity requiring a Department of

the Army permit,” JA 38/AR 360—that is, effects related to “construction activities in waters of

the United States,” Fed. Defs.’ Opp’n & Cross-Mot. at 17. The Corps explicitly stated that its

NEPA analysis “does not extend to the entire pipeline construction, or operation, because the

Corps does not have sufficient control and responsibility over the entire project to warrant an

expanded analysis.” JA 39/AR 361 (emphasis added); see also JA 34/AR 356 (“The Corps . . .




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does not have authority over the entire pipeline. . . . [Its] review includes segments of the overall

Project comprised of waters where regulated activities would occur[.]”); JA 156/AR 478 (“[The

Corps’] regulatory authority and jurisdiction is limited to the construction-related impacts to

aquatic resources.”). Plaintiffs argue that this limitation was arbitrary and capricious, and many

of its specific challenges to the Corps’ NEPA analysis hinge on the Corps’ failure to consider

effects associated with the operation of Replacement Line 3. See, e.g., RLB Pls.’ Mot. at 9, 18.

       NEPA requires agencies to take a “hard look” at the environmental consequences of their

actions, but “the statute does not specify how an agency should determine the scope of its NEPA

analysis.” Aracoma Coal Co., 556 F.3d at 194. The “selection of the scope” of an agency’s NEPA

analysis is a “delicate choice and one that should be entrusted to the expertise of the deciding

agency.” Selkirk Conservation All. v. Forsgren, 336 F.3d 944, 962 (9th Cir. 2003). The Corps’

implementing regulations direct that its NEPA review must “address the impacts of the specific

activity requiring a [Department of the Army] permit and those portions of the entire project over

which the district engineer has sufficient control and responsibility to warrant Federal review.”

33 C.F.R. pt. 325, App. B, § 7(b)(1) (2020) (emphasis added).

       The Court is satisfied that the scope identified by the Corps was appropriate in light of the

activities authorized by its permit. The EA specifies that the scope of its NEPA analysis relates to

“the specific activity requiring a Department of the Army permit,” but that “other portions of the

Project are included because the Corps does have sufficient control and responsibility to warrant

federal review.” JA 38/AR 360. As previously noted, the “activities” authorized by the Corps’

permit include “temporary discharges of fill material into 1,049.58 acres of wetlands, 1.13 acres

of streambed, and permanent discharges of fill material into 9.97 acres of wetlands.” JA 29/AR

351. Consistent with the Corps’ NEPA-implementing regulations, the Corps here considered




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“[w]hether or not the regulated activity comprises ‘merely a link’ in a corridor type project[;]”

“[t]he extent to which the entire project will be within Corps jurisdiction;” and “[t]he extent of

cumulative Federal control and responsibility[.]” 33 C.F.R. pt. 325, App. B, § 7(b)(2)(i)–(iv).

Applying those factors, the Corps determined that “almost all regulated activities associated with

the overall project comprise separate crossings that are ‘merely links’ in a corridor type project.

In other words, much of the corridor project . . . does not involve regulated works in the waters of

the U.S”; rather, only “[a]pproximately 24% of the overall project comprises activities in waters

of the U.S.” JA 38/AR 360. Based on these findings, the Court finds appropriate the Corps’

decision to limit its NEPA analysis to environmental effects arising from the “regulated activities

in waters of the U.S. associated with linear crossings as well as uplands adjacent to, and in some

cases between, waterbodies where the Corps has sufficient control and responsibility to expand its

analysis.” JA 38/AR 360.

        The Corps found that it did not have “sufficient control and responsibility” over the entire

project to extend its NEPA review to “the entire pipeline construction, or operation,” noting that

it “does not regulate the siting of pipelines, nor any substance being transported within a pipeline.”

JA 39, 42/AR 361, 364. This conclusion was consistent with the above-described regulations, as

well as precedent in this jurisdiction. See, e.g., Flanagan South Pipeline, 803 F.3d at 46–48

(concluding that the Corps’ “NEPA obligations” arising out of authorized “federal action”

extended “only to the segments under the Corps[’] asserted Clean Water Act jurisdiction);

Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 205 F. Supp. 3d 4, 9 (D.D.C. 2016)

(“Standing Rock 2016”) (“[T]his Court cannot conclude here that a federal agency with limited

jurisdiction over specific activities related to a pipeline is required to consider all the effects of the

entire pipeline to be the indirectly or directly foreseeable effects of the narrower permitted




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activity.”). The Corps did not act arbitrarily or capriciously in tailoring its NEPA analysis to

address the environmental effects associated with the activities it permitted.

       2. Reliance on State EIS

       Throughout its various criticisms of the Corps’ NEPA analysis, Plaintiffs also contend that

the Corps improperly and “uncritically” relied on the State EIS, signaling that it failed to complete

a “critical, independent verification” of the state’s environmental analysis. See, e.g., RLB Pls.’

Reply & Opp’n at 4. Although Plaintiffs note that NEPA regulations permit cooperation between

state and federal agencies, they argue that the record lacks evidence of “formal cooperation” such

as “joint planning, joint studies, joint public hearings, or a joint EA” with respect to any oil spill

modeling or analysis. Id. at 5.

       The administrative record belies Plaintiffs’ claim about the lack of “coordination” between

the Corps and other agencies with regulatory authority over the Project. The EA notes that “the

Corps and other regulatory agencies worked collaboratively to leverage expertise and information”

due to “multiple agency approvals needed for this Project.” JA 27/AR 349. Moreover, in response

to public comments raising issues about the Corps’ “obligat[ion] to coordinate permit and

environmental review with the State review and such review had not happened,” the Corps

responded that it “coordinated numerous times with state agencies prior to the issuance of the

public notice as well as during the review process after public notice. Coordination included

participating in weekly agency meetings as well as participating in inter-agency review of specific

plans submitted by the applicant.” JA 161/AR 483; see also id. JA 164/AR 486 (“The Corps

participated in many coordination efforts with State agencies during the entire project review.”).

       The Corps’ regulations explicitly direct the district engineer to “whenever practicable,

incorporate by reference and rely upon the reviews of other Federal and State agencies.” 33 C.F.R.




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pt. 325, App. B, § 7(b)(3); see also 40 C.F.R. § 1506.2(b) (“Agencies shall cooperate with State

and local agencies to the fullest extent possible to reduce duplication between NEPA and State and

local requirements[.]”) (emphasis added).

       Moreover, review of relevant caselaw supports the Corps’ position that it was not required

to duplicate studies or analyses already completed by the state (or even the permit applicant itself)

to consider certain effects its activities associated with the Project. See, e.g., Atchafalaya

Basinkeeper v. U.S. Army Corps of Eng’rs, Civil Action No. 18-23-SDD-EWD, 2020 WL

1450750, at *12 (M.D. La. Mar. 25, 2020) (“[T]he Corps’ regulations do not require the Corps to

undertake an independent investigation or to gather its own information upon which to base an

EA”) (quoting Friends of the Earth v. Hintz, 800 F.2d 822, 834 (9th Cir. 1986)); Stop the Pipeline

v. White, 233 F. Supp. 2d 957, 967–68 (S.D. Ohio 2002) (“An agency may fulfill its obligations

under NEPA to conduct an independent evaluation of environmental impacts by reviewing and

relying on information, data, and conclusions supplied by other federal or state agencies.”

(emphasis added)); cf. Hoosier Env. Council v. U.S. Army Corps of Eng’rs, 722 F.3d 1053, 1061

(7th Cir. 2013) (“If another agency has conducted a responsible analysis, the Corps can rely on it

in making its own decisions.”); Town of Superior v. U.S. Fish & Wildlife Serv., 913 F. Supp. 2d

1087, 1127 (D. Colo. 2012) (“[F]ederal agencies may rely on analyses conducted by state and local

governments instead of devoting resources to replicating them.”). Accordingly, the Court finds

that it was appropriate for the Corps to evaluate and incorporate the State EIS into its findings,

without needing to repeat the state’s analysis or discussion.

       3. “Hard Look” at Effects of the Project

       Turning to Plaintiff’s specific challenges to the Corps’ environmental assessment,

Plaintiffs first contend that the Corps violated NEPA by failing to take a “hard look” at various

aspects of the Project—including (a) its contributions to climate change; (b) environmental justice


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considerations; (c) Tribal rights to continue using natural resources; (d) effects on species and

habitats; and (e) reasonable alternatives. RLB Pls.’ Mot. at 8. The Court shall examine each

concern, but first presents the legal framework applicable to its analysis.

       NEPA requires agencies to take a “hard look” at “every significant aspect of the

environmental impact of a proposed major federal action.” Oglala Sioux Tribe, 45 F.4th at 300

(internal citations and quotation marks omitted). An agency satisfies its obligation to take a “hard

look” at the environmental impacts of a proposed action if its “statement contains sufficient

discussion of the relevant issues and opposing viewpoints,’ and the agency’s decision is ‘fully

informed’ and ‘well-considered.’”      Myersville Citizens for a Rural Cmty. v. Fed. Energy

Regulatory Comm’n, 783 F.3d 1301, 1324–25 (D.C. Cir. 2015) (internal citations omitted).

Although NEPA requires federal agencies to take a “hard look” at the consequences of their

actions, it does not obligate the agency to “take one type of action or another.” Southeast Market

Pipelines, 867 F.3d at 1367 (quoting Citizens Against Burlington, Inc. v. Busey, 938 F.2d 190, 194

(D.C. Cir.), cert. denied 502 U.S. 994 (1991)). Moreover, an agency is not required to “examine

everything for which the [Project] could conceivably be a but-for cause.” Id. (citing Pub. Citizen,

541 U.S. at 767; Village of Bensenville v. FAA, 457 F.3d 52, 65 (D.C. Cir. 2006)). The agency

may limit its review to environmental effects that are “sufficiently likely to occur that a person of

ordinary prudence would take it into account in reaching a decision.” Id. at 47 (internal citations

omitted). In other words, NEPA “requires a reasonably close causal relationship between the

environmental effect and the alleged cause.” Id.; see also Metro. Edison Co. v. People Against

Nuclear Energy, 460 U.S. 766, 774 (1983) (explaining that the terms “environmental effect” and

“environment impact” in NEPA should be read to “include a requirement of a reasonably close

causal relationship between a change in the physical environment and the effect at issue”).




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       Keeping these principals in mind, the Court addresses each of Plaintiffs’ challenges to the

sufficiency of the Corps NEPA review, finding that none of them compels the Court to conclude

that the Corps’ analysis was arbitrary or capricious.

               a. Climate Change

       Plaintiffs first argue that the Corps failed to take a “hard look” at the Project’s contributions

to climate change, contending that the EA lacked discussion of “greenhouse gas emissions

associated with the Project’s construction” and the “emissions that the [Project] will make possible

through its operation.” RLB Pls.’ Mot. at 9.

       The Court begins with the latter criticism. The Corps contends that it did “review[ ] and

reference[ ] the extensive analysis of climate conditions, greenhouse gas emissions, operations

impacts, loss of trees . . . , the social cost of carbon, upstream and downstream effects, and

measures to minimize greenhouse gas emissions included in the state EIS.” Fed. Defs.’ Opp’n &

Cross-Mot. at 17. The EA indicates that an “analysis of greenhouse gas emissions was conducted

by the Minnesota Department of State and included in the State EIS.” JA 76/AR 398. Plaintiffs

argue that this discussion—reliant on the State EIS—is insufficient to discharge the Corps’

obligation to consider “indirect” environmental effects of the Project. See RLB Pls.’ Mot. at 10,

11. Plaintiffs argue that the Corps was obligated to consider in its discussion, for example, the

“amount of . . . carbon emissions that the pipeline will make possible.” Id. The Corps and

Enbridge argue that, in light of the limited and temporary construction activities authorized by the

Corps, it was not responsible for reviewing effects arising from the operation of the pipeline.

Otherwise put, Defendants argue that the Corps was not required by NEPA to consider

“greenhouse gas emissions from the pipeline’s operation and transportation of crude oil” because




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such effects are too far attenuated from the permitted activities. Fed. Defs.’ Opp’n & Cross-Mot.

at 19–20; Enbridge’s Opp’n & Cross-Mot. at 16.

       Defendants have the better argument. If an agency “has no ability to prevent a certain

effect due to that agency’s limited statutory authority over the relevant action[,] then that action

cannot be considered a legally relevant cause of the effect for NEPA purposes.” Sierra Club v.

Fed. Energy Regulatory Comm’n, 827 F.3d 36, 47 (D.C. Cir. 2016) (“Freeport Projects”) (cleaned

up) (emphasis added) (quoting Pub. Citizen, 541 U.S. at 771). In other words, NEPA requires

review of the effects with a “reasonably close causal relationship” to the authorized federal action.

Fed. Defs.’ Opp’n & Cross-Mot. at 16 (citing Pub. Citizen, 541 U.S. at 767). The Corps’

discussion in its EA properly addressed such affects with a “reasonably close causal relationship”

to the Corps-permitted construction activities. See Fed. Defs.’ Reply at 2.

       Other courts in this jurisdiction have declined to impose on the Corps an obligation under

NEPA to examine downstream emissions resulting from an entire pipeline project when the Corps’

involvement was limited to permitting temporary construction activities. In Flanagan South

Pipeline, for example, the court determined that the Corps’ NEPA obligations “extended only to

the segments” of a larger pipeline project that were “under the Corps’ asserted Clean Water Act

jurisdiction.” 803 F.3d at 46–47; see also Ctr. for Bio Div. v. U.S. Army Corps of Eng’rs, 941 F.3d

1288, 1296 (11th Cir. 2019) (“Mosaic”) (Corps not required to consider “downstream” effects

beyond its regulatory control). In a more recent decision, the D.C. Circuit clarified that it has

“rejected the notion that that downstream emissions are always reasonably foreseeable effects of a

pipeline project.” Del. Riverkeeper Network v. Fed. Energy Regulatory Comm’n, 45 F.4th 104,

109 (D.C. Cir. 2022) (emphases added); see also Birckhead v. Fed. Energy Regulatory Comm’n,

925 F.3d 510, 519 (D.C. Cir. 2019) (“[Plaintiffs] go too far to the extent they claim emissions from




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downstream gas combustion are, as a categorical matter, always a reasonably foreseeable indirect

effect of a pipeline project.”). In light of the limited, construction-related activities permitted by

the Corps in this case, the Court concludes that it was not arbitrary or capricious to limit its review

of the Project’s effects to those associated with that activity; meaning that it was not required to

review effects associated with the entire pipeline—including its operation. See Mosaic, 941 F.3d

at 1295 (“Only the effects caused by” the “discharge into U.S. waters” is “relevant under NEPA.”).

       Plaintiffs rely on Southeast Market Pipelines for the proposition that NEPA obligated the

Corps to consider the “emissions that the [Project] will make possible” through its operation. RLB

Pls.’ Mot at 9. But that decision involved a NEPA analysis conducted by FERC—which, unlike

the Corps, has regulatory authority to consider and approve “applications to construct and operate

interstate pipelines.” 867 F.3d at 1373. Although Plaintiffs concede that they are not arguing that

the Corps was required to consider “the entire pipeline” to satisfy NEPA, they do appear to argue

that the Corps was required to consider “indirect” effects outside the Corps’ regulatory

jurisdiction—which appear to extend to indirect effects arising from the operation of the entire

pipeline. RLB Pls.’ Reply & Opp’n at 3 n.2. It is unclear to the Court what line Plaintiffs attempt

to draw between not requiring the Corps to consider the “entire pipeline,” but also obligating it to

consider the transportation of oil through the entire pipeline.

       Plaintiffs further argue that the EA fails to sufficiently address construction-related

contributions to climate change. But the EA does address such effects, concluding that the

“combustion of fossil fuels associated with the operation of construction equipment”—would

“likely . . . result in negligible release of greenhouse gases into the atmosphere.” JA 76/AR 398.

The EA further describes steps taken that would mitigate some of those effects, including that

construction would be “in phases” to minimize adverse air quality impacts. Fed. Defs.’ Opp’n &




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Cross-Mot. at 14. And, it analyzed potential effects of emissions on aquatic life, concluding that

mitigation would minimize any potentially harmful effects. Fed. Defs.’ Opp’n & Cross-Mot. at

15 (citations omitted). In response to public comments indicating that the Corps must “evaluate

climate change impacts” including “Greenhous Gas Emission impacts,” the Corps explained that

it reviewed “proposed construction activities within and adjacent to waters of the US and

determined that they would not be expected to affect climate.” JA 157/AR 479; see also JA 75–

76/AR 397–98. Plaintiffs have not identified any information “on localized impacts associated

with construction activities within or adjacent to the waters of the United States that the Corps

failed to consider.” Fed. Defs.’ Opp’n & Cross-Mot. at 16. The Corps’ discussion of the potential

effects of construction-related activities on climate changes satisfied NEPA. 7

               b. Environmental Justice Review and Consideration of Tribes’ Rights to Hunt,
                  Fish, and Gather Natural Resources

       Plaintiffs next argue that the Corps’ EA did not “fully account” for “environmental justice”

concerns because it failed to address “whether and to what extent” the construction of Replacement

Line 3 would disproportionately affect Tribal communities and the natural resources upon which

they rely for subsistence fishing, hunting, and gathering. See RLB Pls.’ Mot. at 11–12. Plaintiffs

separately argue that the Corps failed to “fully account” for the Project’s effects on Tribes’ rights

to hunt, fish, and gather natural resources. Id. at 14–16. Because both arguments address questions

of whether the Project disproportionately affects Tribes, the Court considers them together.




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  In their Reply, Plaintiffs cite Executive Order No. 14,008, issued on January 27, 2021 for the
proposition that the Corps’ “permitting decisions” must “consider the effects of greenhouse gas
emissions and climate change.” See RLB Pls.’ Reply & Opp’n at 9 (quoting Exec. Order No.
14,008, Tackling the Climate Crisis at Home and Abroad, 86 Fed. Reg 7619, 7626 (Jan. 27, 2021).
That executive order, however, post-dates the EAs and permits at issue in this case.


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       The principle of environmental justice “encourages agencies to consider whether the

projects they sanction will have a ‘disproportionately high and adverse’ impact on low-income and

predominantly minority communities.” Southeast Market Pipelines, 867 F.3d at 1368. Executive

Order 12,898 required federal agencies to include an environmental justice analysis in their NEPA

reviews, and the CEQ has promulgated corresponding guidance for agencies. See id. An

environmental justice analysis is “measured against the arbitrary-and-capricious standard.” Id.

(citing Cmtys. Against Runway Expansion v. FAA, 355 F.3d 678, 689 (D.C. Cir. 2004)). The

agency’s “choice among reasonable analytical methodologies is entitled to deference.” Id. (citing

Runway Expansion, 355 F.3d at 689). And, as with other components of its NEPA review, an

agency is not required to select the course of action that “best serves environmental justice,” only

to take a “hard look” at such issues. Id. (citing Latin Ams. For Social & Econ. Dev. v. Fed. Hwy.

Admin., 756 F.3d 447, 475–77 (6th Cir. 2014)).

       The Court concludes that the Corps’ discussion of environmental justice in the EA satisfies

these standards. The Corps found that the Project would “cross through a total of 13 Counties and

a total of 128 consensus tracts, which are predominantly rural,” including nine “census tracts with

a meaningfully higher minority population than the surrounding county.” JA 151/AR 473. One

of those nine tracts includes a “portion of the White Earth Reservation,” but the Project itself does

not cross the reservation. Id. Additionally, the Project “does cross the Fond du Lac Reservation

and also crosses” areas “on which tribes exercise their treaty rights to access tribal resources.” Id.

The Corps also detailed its methodology (which Plaintiffs do not challenge, RLB Pls.’ Reply &

Opp’n at 18) showing that minority populations were determined to be present in an area when the

“percentage of minority group or low-income population exceeded 50 percent of the county

population, or was ‘meaningfully greater’ than the general population of the county.” JA 150/AR




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472. The Corps found that none of the census tracts crossed by the Project “has a meaningfully

greater proportion of the population with income less than 185 percent of the poverty level

compared to the respective county level.” JA 151/AR 473. In reaching this conclusion, the Corps

considered “low-income populations” as those with individuals “with income below 185 percent

of the poverty level.” Id. Based on these findings, the Corps concluded that effects associated

with construction of Line 3 would not disproportionately affect these communities.

       The Corps also coordinated and consulted with Tribes in “planning” and “mitigation,” and

reviewed comments from MPUC regarding environmental justice. Fed. Defs.’ Opp’n & Cross-

Mot. at 23; see JA150/AR472. 8 The Corps points to portions of the EA addressing the concerns

raised by Tribes about natural resources.         Fed. Defs.’ Opp’n & Cross-Mot. at 26; see

JA 139–50/AR 461–72. And the Section 408 EA discusses potential effects on Tribal subsistence

fishing, hunting and gathering, including the potential effects of an oil spill on aquatic life, birds,

and mammals. JA 244–51/AR 2548–55. Plaintiffs, however, argue that the Corps’ EA ignored

“the extent to which reliance on subsistence hunting, fishing, and gathering will amplify tribal

citizens’ experience of the Project’s environmental harm.” RLB Pls.’ Reply & Opp’n at 18.

Plaintiffs cite evidence on the record of the Corps’ consultation with Tribes, which Plaintiffs

contend supplies “ample evidence that the Project will cause disproportionate harm to tribal

citizens who depend on subsistence resources.” Id. at 19. But the EA also describe efforts

undertaken to consult with Tribes and address potential impacts resulting from Enbridge’s

construction of Replacement Line 3. See, e.g., JA 78–79/AR400–01; JA 134–50/AR 456–70.




8
  Enbridge discusses in detail the extensive consultation with Tribes underlying the environmental
justice review conducted for the State EIS, which was based on “CEQ and APA guidance.” See
Enbridge’s Opp’n & Cross-Mot. at 22–26. Enbridge correctly notes that the Corps reviewed this
information and specifically referenced it in its EA. See id. at 22 (citing JA 150/AR 472).


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       Moreover, the Corps notes that Plaintiffs do not identify any examples in their briefs of

places where Plaintiffs show that the impacts on Tribal subsistence activities will occur “within

the area of the [Corps]-permitted activities.” Fed. Defs.’ Reply at 8 (citing Standing Rock 2016,

205 F. Supp. 3d at 30). For example, although Plaintiff point to evidence that the Anishinaabe

depend on the presence of “specific resources” at “specific locations,” they offer no evidence to

demonstrate that such specific locations are tied to areas implicated by the activities authorized by

the Corps’ permit. See RLB Pls.’ Mot. at 13–14. The Court is satisfied that the Corps’ EA

sufficiently considered whether the activities authorized by its permit would disproportionately

affect Tribes, as well as their reliance on and continued use of natural resources.

               c. Potential Impacts to Wetlands, Waterbodies, and Animal Species

       Plaintiffs further argue that the Corps’ EA failed to “fully” examine the Project’s effects

on biodiversity and animal species. RLB Pls.’ Mot. at 16. The record before the Court does not

support such a conclusion. The EA discusses potential effects on wildlife as a result of discharged

dredge and fill material. JA 60–62, 113/AR 382–84, 435. Based on this discussion, the Corps

noted that the “majority of the impacts . . . would be temporary and those functions and benefits

would return after construction and restoration.” JA 113/AR 435. The Corps also explained that

although there would be small conversion of wooded wetlands in certain watershed that may affect

habitats, the overall loss would be relatively small: “population level effects” are “not expected to

be detectable given the surrounding landscape and other habitat in close proximity.” JA 62/AR

384. And, the Corps noted that the majority of Replacement Line 3 is co-located with Existing

Line 3, other pipelines, or highways, which “limits the amount of new corridor . . . reduc[ing]

habitat fragmentation.” JA 73/AR 395.




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       In response to Plaintiffs’ criticism that the Corps’ analysis failed to address effects on

animal species with sufficient specificity, the Corps explains that it consulted with the U.S. Fish

and Wildlife Service to address potential impacts to local ESA-pertinent species. Fed. Defs.’

Opp’n & Cross-Mot. at 29 (citing JA 58–50/AR 380–81). Although Plaintiffs’ argue that the

Corps’ analysis lacked specificity, Plaintiffs do not point to any particular animal species that it

contends the Corps failed to consider. Id. Again, Plaintiffs have failed to demonstrate that the

Corps’ discussion of these considerations was deficient under NEPA.

               d. Consideration of Alternatives

       Finally, Plaintiffs argue that the Corps failed to take a “hard look” at alternatives to the

Project. RLB Pls.’ Mot. at 17–19. NEPA requires agencies to consider alternatives to a proposed

action, even if the agency finds no significant impact based upon an EA. 40 C.F.R. § 1508.9(b)

(requiring an environmental assessment to include brief discussions of “alternatives as required by

section 102(2)(E),” and “of the environmental impacts of the proposed action and alternatives”).

To comply with NEPA, an EA must include a “brief discussion of reasonable alternatives to the

proposed action.” Standing Rock 2017, 255 F. Supp. 3d at 134 (internal citations and quotation

marks omitted). An EA’s consideration of “reasonable alternatives” need not be “as rigorous as

the consideration of alternatives in an EIS.” Id. (internal citations and quotation marks omitted).

       An alternative is “reasonable” if it is “objectively feasible as well as ‘reasonable in light of

[the agency’s] objectives.’” Myersville, 783 F.3d at 1323 (quoting Theodore Roosevelt Conserv.

P’ship, 661 F.3d at 72). “NEPA requires only that the Corps consider alternatives relevant to the

applicant’s goals and the Corps is not to define what those goals should be.” City of Shoreacres,

420 F.3d at 450 (citing Burlington, 938 F.2d at 198). The agency “bears the responsibility for

deciding which alternatives to consider” and need only follow a “rule of reason,” which governs




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“both which alternatives the agency must discuss, and the extent to which it must discuss them.”

Burlington, 938 F.2d at 195 (internal citations omitted). An agency’s “specification of the range

of reasonable alternatives is entitled to deference.” Myersville, 783 F.3d at 1323 (internal citations

omitted).

       The Corps’ EA explained that its consideration of the “range of alternatives” was limited

to the “route corridor designated by MPUC” because the Corps “does not regulate the siting of

pipelines.” JA 42/AR 364. Otherwise put, the route approved by the state agency was “the corridor

in which Enbridge [was] legally obligated to construct the project under Minnesota law.”

JA34/AR 356. Plaintiffs argue that the Corps’ failure to consider any route alternatives rendered

its discussion of alternatives deficient under NEPA. RLB Pls.’ Mot. at 17. They claim that it was

improper for the Corps to “refus[e] to evaluate routing alternatives rejected by [M]PUC.” Id. at

18 (emphasis added). This argument makes little practical sense and has already been rejected by

the Court. See Red Lake Band of Chippewa Indians v. U.S. Army Corps of Eng’rs, Civil Action

No. 20-3817 (CKK), 2021 WL 430054, at *14–15 (D.D.C. Feb. 7, 2021).

       Where, as here, a federal agency is “not the sponsor of a project,” its “consideration of

alternatives may accord substantial weight to the preferences of the applicant and/or sponsor in the

siting . . . of the project.” City of Grapevine, Tex. v. Dep’t of Transp., 17 F.3d 1502, 1506 (D.C.

Cir. 1994) (internal citation and quotation marks omitted). For example, in Friends of Capital

Crescent Trail v. Fed. Transit Admin., 877 F.3d 1051 (D.C. Cir. 2017), the court concluded that

the federal agency’s discussion of alternatives was sufficient under NEPA even though it addressed

only two alternatives: a no build option and Maryland’s preferred light rail line. Id. at 1063. The

court observed that the state had “initially considered numerous alternatives,” and “eliminated

from further consideration” alternatives not considered reasonable.          Id.   After the state’s




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elimination of alternatives, the federal agency’s role was “narrowed”: “[i]ts ultimate decision was

to decide whether or not to fund the preferred alternative.” Id.

       The Corps faced a similar decision here: whether or not to permit the Project based on the

route that had been proposed by Enbridge, subject to extensive state administrative scrutiny, and

ultimately selected by the state agency with authority to do so. The Corps was not required to

“reinvent the wheel” by reviewing alternative routes in which Enbridge was not legally authorized

to construct the replacement pipeline. See Hoosier Envtl., 722 F.3d at 1061. Based on the state’s

elimination of other proposed routes for a new pipeline, the Corps’ “specification of the range of

reasonable alternatives” was not arbitrary or capricious. Myersville, 783 F.3d at 1323; see also

Friends of Cap. Crescent, 877 F.3d at 1064 (“Requiring more detail on rejected alternatives would

elevate form over function.”); Envtl. Prot. Info Ctr. v. U.S. Forest Serv., 451 F.3d 1005, 1016 (9th

Cir. 2006) (“[A]n agency’s obligation to consider alternatives under an EA is a lesser one than

under an EIS.”) (internal quotation marks omitted).

       4. Failure to Prepare an EIS

       Plaintiffs also contend that the Corps’ decision not to prepare an EIS was “arbitrary and

capricious.” RLB Pls.’ Mot. at 19–23. The Court’s “role in reviewing [the Corps’] decision not

to prepare an EIS is a limited one, designed primarily to ensure that no arguably significant

consequences have been ignored.” Nat’l Parks Conserv. Ass’n v. Semonite, 916 F.3d 1075, 1082

(D.C. Cir. 2019) (quoting Myersville, 783 F.3d at 1322 (internal quotation marks omitted)). “An

agency decision that an EIS is not required may be overturned ‘only if it was arbitrary, capricious

or an abuse of discretion.’” Grand Canyon Trust, 290 F.3d at 340 (quoting Sierra Club v. U.S.

Dep’t of Transp., 753 F.2d 120, 126 (D.C. Cir. 1985)). Judicial review of an agency’s finding of

“no significant impact” is not, however, “merely perfunctory as the court must ensure that the




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agency took a ‘hard look’ at the environmental consequences of its decision.” Peterson, 717 F.2d

at 1413 (citing Kleppe v. Sierra Club, 427 U.S. 390, 410 n.21 (1976)). Courts reviewing an

agency’s finding of “no significant impact” must consider whether the agency:

               (1) has accurately identified the relevant environmental concern, (2)
               has taken a hard look at the problem in preparing its [FONSI or
               Environmental Assessment], (3) is able to make a convincing case
               for its finding of no significant impact, and (4) has shown that even
               if there is an impact of true significance, an EIS is unnecessary
               because changes or safeguards in the project sufficiently reduce the
               impact to a minimum.

Sierra Club v. Van Antwerp, 661 F.3d 1147, 1154 (D.C. Cir. 2011) (quoting TOMAC v. Norton,

433 F.3d 852, 861 (D.C. Cir. 2006)). “In so doing, courts in this circuit apply a rule of reason to

an agency’s NEPA analysis and decline to flyspeck the agency’s findings in search of any

deficiency no matter how minor.” Standing Rock 2017, 255 F. Supp. 3d at 122 (internal citation

and quotation marks omitted).

       As set forth in the previous section, the Court is unpersuaded by Plaintiffs’ arguments

regarding the Corps’ alleged failure to take a “hard look” at the environmental consequences of its

decision to authorize Enbridge’s construction activities for Replacement Line 3. However,

Plaintiffs also challenge the Corps’ finding of “no significant impact” as “arbitrary and capricious”

because “the Project is highly controversial,” its “impacts remain uncertain,” and it “carries a

material risk of ‘grave’ or ‘catastrophic’ harm.” RLB Pls.’ Mot. at 19. Again, the Court addresses

each of these arguments, in turn, after presenting the applicable legal context.

       Whether a project has “significant environmental impacts, thus triggering the need to

produce an EIS, depends on its ‘context’ (region, locality) and ‘intensity’ (‘severity of impact’).”

Semonite, 916 F.3d at 1082 (citing 40 C.F.R. § 1508.27). Plaintiffs’ arguments touch on two

enumerated “intensity” factors: the “degree to which the effects on the quality of the human




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environment are likely to be highly controversial” and the “degree to which the possible effects on

the human environment are highly uncertain.” § 1508.27(b)(4), (5). 9 They separately argue that

the Project presents a “risk of grave or catastrophic harm” in further support of their claim that the

Corps’ finding of “no significant impact” was improper. See RLB Pls.’ Mot. at 23 (citing Standing

Rock 2021, 985 F.3d at 1049–50).

       Plaintiffs first contend that the Corps failed to consider the extent to which the Project is

“highly controversial.” Id. at 20. The term “controversial” refers to cases in which “substantial

dispute exists as to the size, nature, or effect of the major federal action[.]” Semonite, 916 F.3d at

1083 (quoting Town of Cave Creek v. FAA, 325 F.3d 320, 331 (D.C. Cir. 2003)). To be “highly

controversial,” “something more is required besides the fact that some people may be highly

agitated and be willing to go to court over the matter.” Id.

       Other courts grappling with what “something more” is required to render the effects of a

federal action “highly controversial” have focused on whether “scientific or other evidence . . .

reveals flaws in the methods or data relied upon by the agency in reaching its conclusions.’” Id.

(internal citations and quotation marks omitted). In Semonite, the D.C. Circuit considered whether

the Corps had acted arbitrarily and capriciously in declining to prepare an EIS when it granted a

permit allowing a utility company to construct a series of electrical transmission towers across the

“historic James River.” 916 F.3d at 1077. In that case, the Corps had concluded that such

authorization would have no “significant impact” on historic sites along the river. Id. In assessing

whether the effects of that project were likely to be “highly controversial,” the court pointed to

examples in the record of criticism of the Corps’ scientific methodology by experts in the relevant



9
 Enbridge notes that the revised CEQ regulations (effective after the Corps’ analysis in this case,
see supra note 3) eliminated the consideration of “controversy.” 85 Fed. Reg. 43,304, 43,322 (July
16, 2020).


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field and other “government agencies with ‘special expertise.’” Id.; see also Found. for N. Am.

Wild Sheep v. Dep’t of Agric., 681 F.2d 1172, 1182              (9th Cir. 1982) (criticism from

conservationists, biologists, two state agencies, and “other knowledgeable individuals”

represented “precisely the type of ‘controversial’ action for which an EIS must be prepared”);

Friends of the Earth, Inc. v. U.S. Army Corps of Eng’rs, 109 F. Supp. 2d 30, 43 (D.D.C. 2000)

(project classified as “genuinely and extremely controversial” where three federal agencies, one

state agency, and the public “all disputed the Corps evaluation of the environmental impacts . . .

and pleaded with the Corps to prepare an EIS”). The Semonite court found that the “consistent

and strenuous opposition, often in the form of concrete objections to the Corps’ analytical process

and findings, from agencies entrusted with preserving historic resources and organizations with

subject-matter expertise constituted the “something more” needed to show that the “effects on the

quality of the human environment are likely to be highly controversial.” Id. at 1086 (citing 40

C.F.R. § 1508.27(b)(4)).

       Similarly, in Standing Rock 2021, the D.C. Circuit reviewed four “unresolved scientific

controversies” pertaining to the Corps’ decision to grant an easement to construct an the Dakota

Access Pipeline (“DAPL”) beneath Lake Oahe, an artificial reservoir covering 56,000 acres of the

standing Rock Reservation and 10,420 acres of the Cheyenne River Sioux Tribe’s trust lands. 985

F.3d at 1039, 1040, 1045–49. The court discussed, for example, scientific and methodological

disputes regarding the Corps’ review of the effectiveness of the DAPL’s leak detection system,

operator safety, winter conditions, and its “word case discharge scenario.” Id. at 1045–49. The

court concluded that these existing “serious scientific disputes” demonstrated that the effects of

the easement and DAPL construction were likely to be “highly controversial.”




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       In contrast to these discussions of scientific and methodological disputes underlying the

D.C. Circuit’s discussion of what “more” is required than mere public criticism or opposition to

make a project “highly controversial,” Plaintiffs here contend that the Corps failed to address

“criticism” from Tribes and environmental groups regarding effects on climate change,

environmental justice, and tribal rights to natural resources, and the effects on native habitats and

species. RLB Pls.’ Mot. at 20. That there was criticism about the Corps’ review does not render

it “controversial.” See Standing Rock 2017, 255 F. Supp. 3d at 127 (“Such controversy is not

measured by newsworthiness[.]”); Nat’l Park Conserv. Ass’n v. United States, 177 F. Supp. 3d 1,

33 (D.D.C. 2016) (“Something more is required besides the fact that some people may be highly

agitated and be willing to go to court over the matter.”). Although Plaintiffs indicate that the Corps

failed to “address and resolve several ‘serious objections’ to its analysis,” they point only to one

specific example, claiming that the Corps failed to “acknowledge and rebut substantial scientific

criticism” regarding the Corps’ oil spill analysis. See RLB Pls.’ Mot. at 21.

       Plaintiffs argue that the oil spill analysis contained in the State EIS, and cited by the Corps,

had “been struck down” by the Minnesota Court of Appeals for failure to “consider how an oil

spill might impact Lake Superior Watershed,” RLB Pls.’ Mot. at 21 (citing In re Enbridge Energy

Ltd. P’ship, 930 N.W.2d 12, 27–28 (Minn. Ct. App. 2019)), an issue that Tribes and other

organizations had previously raised to the Corps, id.; see JA 1497–1500/AR 97765–68. The Corps

notes that the state court did not disagree with the entirety of the State EIS’s oil spill analysis, but

concluded that the decision not to model spill impacts on the Lake Superior watershed to be

inadequate. Fed. Defs.’ Opp’n & Cross-Mot. at 38 (citing In re Enbridge, 930 N.W.2d at 28).

And, as the Corps and Enbridge point out, DOC-EERA has since revised its oil spill analysis,

which was ultimately affirmed by the Minnesota Court of Appeals. See Enbridge Opp’n & Cross-




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Mot. at 28; Fed. Defs.’ Opp’n & Cross-Mot. at 38. The Corps indicates that it considered both the

revised State EIS (addressing the spill risk at Lake Superior watershed), as well as Plaintiffs’

comments on that issue. See Fed. Defs.’ Reply at 15. Plaintiffs’ sole citation to a since-revised

oil spill analysis does not rise to the level of scientific and methodological criticism determined by

the D.C. Circuit to be “highly controversial” requiring the Corps to prepare an EIS.

       Next, Plaintiffs argue that the Corps’ EA failed to resolve the “degree to which the possible

effects on the human environment are highly uncertain.” RLB Pls.’ Mot. at 22 (citing 40 C.F.R.

§ 1508.27(b)(5)). Plaintiff argue that the Corps “refused” to consider how Line 3 “will affect

climate, tribes, tribal resources, or local species.” Id. But the Court’s discussion supra Section

III(A)(3) belies this assertion (which lacks any citations to the administrative record). Rather, the

Court agrees with the Corps that its review of the impacts of its permitting decisions led to a

reasonable conclusion that the effects of temporarily discharging dredge or fill material in waters

of the United States are not “uncertain.” See Fed. Defs.’ Opp’n & Cross-Mot. at 39–40.

       Finally, Plaintiffs contend that the Project carries a “material risk of grave or catastrophic

harm,” which, by definition, required the Corps to prepare an EIS. RLB Pls.’ Mot. at 23.

Plaintiffs’ argument does not derive from the applicable regulations, but instead from the D.C.

Circuit’s decision in Standing Rock. Id. There, the court reasoned that a “finding of no significant

impact is appropriate only if a grave harm’s probability is so low as to be remote and speculative,

or if the combination of probability and harm is sufficiently minimal.” Id. (quoting 985 F.3d at

1049-50). But, as the Corps notes, the Standing Rock court discussed the question of “grave risk”

not as a standalone consideration, but within its assessment of whether the easement granted in

that case was likely to be “highly controversial”—which, again, was based on “several serious

scientific disputes” regarding that pipeline’s leak detection system, operator safety record, worst




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case discharge model, and spill response in winter conditions. See Fed. Defs.’ Opp’n & Cross-

Mot. at 40 (citing Standing Rock, 985 F.3d at 1044–50). As previously discussed, Plaintiffs here

cite no parallel scientific disputes.

                                                  ***

          The Court concludes that the Corps did not act arbitrarily or capriciously by failing to take

a “hard look” at the effects of the Project or declining to prepare an EIS based on its finding of no

significant impact associated with the activities authorized by its permits. The Corps has satisfied

its obligations under NEPA, and so it is entitled to summary judgment as to Plaintiffs’ NEPA

claims.

B. CWA Claims

          The Court turns next to Plaintiffs’ claims under the Clean Water Act. As noted supra

Section I(A)(2), before issuing a Section 404 permit, the Corps must determine that there is “no

practicable alternative” to the proposed activity “which would have less adverse impact on the

aquatic ecosystem.” 40 C.F.R. § 230.10(a). And it must also evaluate the “probable impacts” of

the proposed activity and consider whether or not the proposed activity would be “contrary to the

public interest.” 33 C.F.R. § 320.4(a)(1). Plaintiffs argue that the Corps’ analysis of alternatives,

potential “degradation” of waters of the United States, and its public interest review was

insufficient. For the reasons discussed below, the Court disagrees, and finds that the Corps’

discussion satisfies CWA and the associated implementing regulations.

          1. Analysis of Alternatives

          As with NEPA, the CWA also requires the Corps to consider alternatives to the proposed

project before authorizing any activities covered by Section 404. The regulations implementing

Section 404 of the CWA provide that “no discharge or no discharge of dredged or fill material




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shall be permitted if there is a practicable alternative to the proposed discharge which would have

less adverse impact on the aquatic ecosystem, so long as the alternative does not have other

significant adverse environmental consequences.” 40 C.F.R. § 230.10(a) (emphasis added). A

“practicable” alternative is one that “is available and capable of being done after taking into

consideration cost, existing technology, and logistics in light of overall project purposes.” Id.

§ 230.10(a)(2) (emphasis added). Where, as here, the activity associated with a discharge is not

water dependent, see JA 42/AR 364, the CWA regulations create a rebuttable presumption that

there are practicable and environmentally preferable alternatives to discharging dredged and fill

material into wetlands. 40 C.F.R. § 230.10(a)(3). Plaintiffs argue that the Corps violated the CWA

by failing to consider “status quo” alternatives or less environmentally damaging route

alternatives. FOH’s Mot. at 6.

               a. “No Action” Alternatives

       The Corps’ EA discusses multiple “no action” alternatives—the options available if the

Corp did not issue a “permit for the discharge of dredged and fill material into the waters of the

United States.” JA 44/AR 366. The Corps considered, for example, continued use of Existing

Line 3, alternatives involving transportation of oil by rail or truck, and combinations involving

Existing Line 3 and other methods of transportation. JA 44–48/AR 366–70. The Corps considered

in reasonable detail each of these alternatives and rejected each as impracticable in light of the

Project’s purpose. Id.

       FOH argues that the Corps’ discussion of a “no action” alternative was deficient because

the Corps did not consider a “no build” alternative of “leaving the status quo as it is.” FOH Mot.

at 7. It is not clear if Plaintiffs suggest that the Corps should have considered decommissioning

existing Line 3 entirely (without replacement) or continuing to use Existing Line 3. If the latter,

the Corps’ discussion of that option in the EA plainly illustrates why it was not practicable. As


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the Corps notes, the EA addresses the fact that Existing Line 3 was deteriorating and risked greater

environmental intrusion and harm. Fed. Defs.’ Opp’n & Cross-Mot. at 42. As to the alternative

of shutting down Existing Line 3 without replacement, the Corps argues that this too would not be

a “practicable” alternative to consider in light of the overall project purposes. Id. at 43 (citing 40

C.F.R. § 230.10(a)(2) (requiring analysis of alternatives to take into consideration the “overall

project purposes)); see also Greater Yellowstone Coal. v. Flowers, 359 F.3d 1257, 1270 (10th Cir.

2004) (recognizing that the Corps “has a duty to take into account the objectives of the applicant’s

project”) (internal citations and quotation marks omitted).

         Although Plaintiffs argue that the Corps merely accepted Enbridge’s “purpose and need

statement” uncritically, the Corps responds that it did perform an “independent assessment of the

need for the project,” even though it was not required to do so, and explained its “independent

conclusion that the project is needed.” Fed. Defs.’ Opp’n & Cross-Mot. at 45 (citing JA 41–42,

83/AR 363–64, 405). Plaintiffs have failed to demonstrate that the Corps’ selection of “no action”

alternatives and discussion thereof was arbitrary or capricious.

               b. Route Alternatives

       Plaintiffs next argue that the Corps’ analysis of alternatives was deficient because the Corps

limited “the range of alternatives . . . to the route corridor designated by the MPUC.” FOH’s Mot.

at 8. Plaintiffs argue that the Corps’ failure to consider pipeline routes other than the route

identified by MPUC violated the CWA. Id. As with its analysis of alternatives under NEPA, the

Corps responds that its CWA analysis of alternatives was appropriately constrained by the route

permitted under state law—the route designated by the responsible state agency, the MPUC. See

Fed. Defs.’ Opp’n & Cross-Mot. at 44.

       The “practicable alternatives” the Corps must consider include, but “are not limited to”:

“[a]ctivities which do not involve a discharge of dredged or fill material into the waters of the


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United States” and “discharges of dredged or fill materials at other locations in waters of the United

States.”    40 C.F.R. § 230.10(a)(1)(i), (ii).     The Corps’ analysis addressed both potential

alternatives. First, the Corps discussed alternatives activities which do not involve discharge of

dredged or fill material into the United States, including transportation of oil by rail or truck. JA

44–46/AR 366–68. And second, the Corps considered the alternative of continuing to use the

same route occupied by Existing Line 3, but noted that construction would require a wider

workspace and more time with open trenches, risking greater environmental harms including

“greater environmental impacts at wetlands and waterbody crossings.” JA 23–24/AR 370–71.

Moreover, Existing Line 3 crosses the Chippewa National Forest and easements through the Leech

Lake and Fond du Lac Reservations, which are set to expire in 2029. JA 49/AR 371. The Corps

concluded that none of these potential alternatives were “practicable.” JA 49–50/AR 371–72.

       Plaintiffs, however, argue that the Corps should have considered additional alternative

routes, including those that had been rejected by the state agency. FOH Mot. at 9. They argue

that the Corps has improperly “presumed” that any route not previously approved by a state

regulator is “not available.” Id. However, as Federal Defendants have pointed out, Enbridge was

not legally permitted to construct Replacement Line 3 anywhere other than where the state agency

authorized it to. Fed. Defs.’ Cross-Mot. at 44; see supra Section III(A)(3)(d). In other words, an

alternative pipeline route that has been rejected by the state agency is not one that is “available and

capable of being done,” and therefore is, by definition, not “practicable.” 40 C.F.R. § 230.10(a)(2).

       Based on this practical reality, it would be futile for the Corps to expend resources on

considering additional alternatives routes that had been rejected by state authorities. The Corps’

discussion of the practicable alternatives to the Project was reasonable and appropriate under the

circumstances.




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          2. Consideration of “Significant Degradation”

          Next, FOH argues that the Corps improperly evaluated whether granting Enbridge a

Section 404 permit complied with 40 C.F.R. § 230.10(c), which provides: “[N]o discharge of

dredged or fill material shall be permitted which will cause or contribute to significant degradation

of the waters of the United States.” The regulation then enumerates four examples of “effects”

that should be considered in assessing “degradation related to the proposed discharge,” which

include “[s]ignificantly adverse effects of the discharge of pollutants” on human health or welfare

(including effects on municipal water supplies), life stages of aquatic life and other wildlife,

aquatic     ecosystem     diversity,   and    recreational,   aesthetic,   and   economic     values.”

Id. § 230.10(c)(1)–(4) (emphasis added). FOH argues that a potential oil spill would implicate all

of these considerations. FOH Mot. at 10.

          FOH’s argument rests on an overly generous reading of this regulation. By its text,

§ 230.10(c)(1) addresses consideration of potential degradation “related to the proposed

discharge.”      § 230.10(c)(1).   In other words, the Corps’ analysis of potential “significant

degradation of the waters of the United States” was appropriately tailored to potential effects

arising from the “discharge of dredged or fill material” authorized by its permits. Id. The Corps

was not required under this provision to assess a potential oil spill that could result from the

operation of the new pipeline. Accordingly, FOH has failed to demonstrate any CWA violation

based on its reading of § 230.10(c)(1).

          3. Public Interest Review

          Plaintiffs argue that the Corps failed to conduct a sufficient “public interest” review under

the CWA. The Corps’ regulations direct that its decision of whether to issue a permit will be “based

on an evaluation of the probable impacts, including the cumulative impacts, of the proposed




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activity and its intended us on the public interest.” 33 C.F.R. § 320.4(a)(1). The Corps’ evaluation

must be based on “a careful weighing of all those factors which become relevant in each particular

case” and must balance the “benefits which may reasonably accrue from the proposal” against its

“reasonably foreseeable detriments.” Id. A permit may not be granted if it is “contrary to the

public interest.” Id.

       Section 320.4(a) specifies that the Corps must consider “[a]ll factors which may be relevant

to the proposal,” including: “conservation, economics, aesthetics, general environmental concerns,

wetlands, historic properties, fish and wildlife values, flood hazards, floodplain values, land use,

navigation, shore erosion and accretion, recreation, water supply and conservation, water quality,

energy needs, safety, food and fiber production, mineral needs, considerations of property

ownership and, in general, the needs and welfare of the people.” Id. The weight accorded to each

of these factors is “determined by its important and relevance to the particular proposal,” that is,

“how important a factor is and how much consideration it deserves will vary with each proposal.”

Id. § 320.4(a)(3).      The Corps must give “full consideration and appropriate weight” to “all

comments, including those of federal, state, and local agencies, and other experts on matters within

their expertise.” Id. The Corps “has significant expertise in making this [public interest]

determination.” Coeur Alaska, Inc. v. Se. Council, 577 U.S. 261, 285 (2009).

       Plaintiffs challenge the Corps’ consideration of various factors enumerated in

§ 320.4(a)(3). As set forth below, the Court concludes that the Corps’ discussion of these factors

was sufficient.

                  a. Economics

       For “private enterprise” permit applications, the Corps may “generally . . . assume[ ] that

appropriate economic evaluations have been completed, the proposal is economically viable, and




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is needed in the market place.” § 320.4(q). “However, the district engineer in appropriate cases,

may make an independent review of the need for the project from the perspective of the overall

public interest.” Id. The Corps’ EA notes that the Project is likely to have “positive effects” on

employment, income, and tax revenue. JA 74/AR 396. The Corps considered the increased

employment of from workers in local unions during construction activities, as well as an increase

in State and count tax revenues resulting both from income tax receipts. Id.

       FOH argues that the Corps’ analysis of “economics” associated with the Project was

insufficient, because the Corps did not address “out-of-pocket costs for consumers” arising from

the pipelines’ construction and operation. FOH’s Mot. at 13. FOH does not cite to any portion of

the record containing any comment about such considerations that the Corps should have

considered. Nor does FOH grapple with the presumption applicable to “private enterprise”

applicants in § 320.4(q). FOH, therefore has not demonstrated that the Corps’ discussion of

economics was insufficient based on the requirements set forth in § 320.4(q).

               b. Energy Needs

       Section 320.4(n) directs that “District engineers will give high priority to the processing of

permit actions involving energy projects.” § 320.4(n). The EA indicates that the Project will

“support United States consumers’ energy demands” and “ensur[e] that the region continues to

have access to affordable energy and other refined products.” JA 83/AR 405. To reach this

conclusion, the Corps considered “detailed information and testimony” provided by Enbridge to

the state agencies regarding the “need for the Project, demand for petroleum, and benefits of the

Project.” Id. The EA notes that Replacement Line 3 would serve the same markets as Existing

Line 3, and would transport oil more safely. Id.




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         FOH cites to a portion of a decision by the environmental resources department of the State

Department of Commerce from 2017, which concluded that Enbridge had not “established a need

for the proposed project” based on “[o]il market analysis. 10 FOH Mot. at 13 n.21 (citing

JA 4033–35/AR 151894–97). Red Lake Band Plaintiffs also cite portions of the record indicating

that demand for “crude oil” is unlikely to increase in the coming years due to the adoption of

electric vehicles and efforts by the governments of the United States and Canada to reduce

greenhouse gas emissions. See RLB Pls.’ Mot. at 29 (citing JA 1513/AR 97781). Despite these

discrete examples, the Corps notes that the Minnesota Court of Appeals recently concluded that

the MPUC’s decision to grant Enbridge a “certificate of need” was supported by substantial

evidence, including of “demand” for oil. Fed. Defs.’ Opp’n & Cross-Mot. at 49; Fed. Defs.’ Reply

at 26.

                c. Climate Change & Greenhouse Gas Emissions

         FOH also argues that the Corps insufficiently addressed “climate change” as part of its

obligation to consider “general environmental concerns.” FOH Mot. at 14. As detailed supra

Section III(A)(3)(a), the Corps found that the proposed construction activities would “result in a

negligible release of greenhouse gas into the atmosphere.” JA 76/AR 398. Though brief, FOH’s

argument appears to be that the Corps should have considered climate change implications

associated with the scope of the entire Project as opposed to the discrete activity authorized by the

Corps. FOH’s Mot. at 14. Relatedly, Red Lake Band Plaintiffs argue that the Corps arbitrarily




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  The Corps notes that MPUC (not DOC-EERA is “charged with determining whether there is
sufficient need for the pipeline based on demand and other factors”). Fed. Defs.’ Mot. at 49.


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declined to consider “increased greenhouse gas emissions” associated with the production of “[t]ar

sands oil.” RLB Pls.’ Mot. at 27.

       But, for the reasons discussed supra Section III(A)(1), the Court is not persuaded that the

Corps was required to conduct such an expansive analysis. Moreover, the regulation setting forth

the requirements for the Corps’ “public interest” analysis direct the Corps to evaluate the “probable

impact which the proposed activity may have on the public interest[.]” § 320.4(a) (emphasis

added). Plaintiffs do not dispute that the proposed activity for which Enbridge sought a “DA

permit” was the temporary discharge of dredged and fill materials into waters of the United States

during Enbridge’s construction of Replacement Line 3. The Court finds that the Corps’ CWA

public interest review appropriately reflected the scope of the activity authorized by the Corps.

               d. Wetlands

       FOH next objects to the Corps’ discussion of the adverse impacts of construction on

wetlands, claiming that the Corps “makes no attempt to estimate” such effects and “concludes that

Enbridge’s obligation to avoid or minimize those impacts can be ignored[.]” FOH’s Mot. at 14.

The EA belies these brief, conclusory criticisms of the Corps’ public interest review. The Corps’

EA discusses in detail the measures Enbridge proposed to avoid and mitigate impacts to wetlands.

See, e.g., JA 46–47/378–79 (discussing “environmental procedures and mitigation measures that

the contractor will implement during construction); JA 59–60/AR 381–82 (noting that there is “no

permanent loss of aquatic habitat proposed as part of this Project”); JA 66–70/AR 388–92 (section

of EA discussing “actions to minimize adverse effects” to wetlands); JA 76–77/AR 398–99

(section of EA discussing effects to wetlands); JA 85–87/AR 407–09 (discussing wetland

compensatory mitigation); JA 92–124/AR 414–46 (detailing effects on “watershed conditions and

impacts to wetlands” affected by construction of Line 3 replacement). And, as the Corps notes,




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the Permit contained “Special Conditions” addressing mitigation requirements. See JA 4–7/AR

5–8. The Corps’ EA also discusses at length wetlands affected by the Project, as well as the

temporary and post-construction effects of the authorized activities on them. See JA 53–54/AR

375–76; JA 60–61/AR 382–83; JA 92–124/AR 414–46. FOH’s arguments that the Corps’

assessment lacked sufficient discussion of effects to wetlands lacks merit.

                e. Risk of an Oil Spill

        Red Lake Band Plaintiffs argue that the Corps’ public interest analysis was incomplete

because it failed to consider the risk of an oil spill. RLB Pls.’ Mot. at 26. Plaintiffs argue that this

potential impact touches on many of the factors enumerated in § 320.4(a)—including wetlands,

cultural values, recreational values, fish and wildlife, water quality, food production, and the needs

and welfare of the people. Id. Moreover, Plaintiffs cite to comments on the record addressing

risks posed by a potential oil spill. Id.

        The Court has previously concluded that the Corps’ discussion of the risk of an oil spill

sufficiently addresses these public interest factors. See Red Lake Band of Chippewa Indians, 2021

WL 430054, at *11–12 . The Court noted that the Section 408 EA discuss the effects of an oil spill

on aquatic life, birds, mammals, and wild rice. See JA 246–49/AR2550–53. And the Section 404

EA indicates that the Corps undertook “robust coordination with Tribes to ensure mitigative

measures would be taken to reduce any adverse effects to tribal resources.” JA 127/AR474. The

Court concluded that the worst-case discharge model upon which the Corps relied in its Section

408 EA “was carefully and deliberately selected to address a broad spectrum of terrain, land-cover

types, watercourses, waterbodies, wetlands, associated freshwater and riparian habitat types,

vegetation, environmentally-sensitive areas, and human land uses . . . to consider the range of

consequences that may be possible should there by an accidental release of crude oil along the




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proposed route[.]” JA 244/AR 2548. Similarly, the mitigative measures discussed in the Section

408 EA address areas spanning the pipeline, including “rural, sparsely populated areas.” JA

250/AR2554. Plaintiffs’ present arguments do not compel the Court to changes its previous

conclusion that the Corps’ discussion of a potential oil spill discharged its obligation to consider

environmental effects under the CWA. Id.

                                                ***

          The Court concludes that the Corps complied with its obligations under the CWA to

consider practicable alternatives, address whether discharged dredged or fill material would cause

significant degradation to the waters of the United States, and to evaluate appropriate public

interest factors. Accordingly, the Corps is entitled to summary judgment as to Plaintiffs’ CWA

claims.

                                   IV.     CONCLUSION

          For the foregoing reasons, the Court GRANTS Federal Defendants’ [61] Cross-Motion for

Summary Judgment and Enbridge’s [63] Cross-Motion for Summary Judgement and DENIES

Plaintiffs’ [52], [53] Motions for Summary Judgment. This case shall be dismissed with prejudice.

An appropriate Order accompanies this Memorandum Opinion.


                                                           /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge

          Date: October 7, 2022




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